Case 3:23-cv-03417-VC   Document 357-3   Filed 12/20/24   Page 1 of 11




                   EXHIBIT C
                        Case 3:23-cv-03417-VC        Document 357-3    Filed 12/20/24    Page 2 of 11



                    1   COOLEY LLP
                        BOBBY GHAJAR (198719)
                    2   (bghajar@cooley.com)
                        COLETTE GHAZARIAN (322235)
                    3   (cghazarian@cooley.com)
                        1333 2nd Street, Suite 400
                    4   Santa Monica, California 90401
                        Telephone:    (310) 883-6400
                    5
                        MARK WEINSTEIN (193043)
                        (mweinstein@cooley.com)
                    6
                        KATHLEEN HARTNETT (314267)
                        (khartnett@cooley.com)
                    7
                        JUDD LAUTER (290945)
                        (jlauter@cooley.com)
                    8
                        ELIZABETH L. STAMESHKIN (260865)
                        (lstameshkin@cooley.com)
                    9
                        3175 Hanover Street
                        Palo Alto, CA 94304-1130
                   10
                        Telephone:    (650) 843-5000
                   11   LEX LUMINA PLLC
                        MARK A. LEMLEY (155830)
                   12   (mlemley@lex-lumina.com)
                        745 Fifth Avenue, Suite 500
                   13   New York, NY 10151
                        Telephone: (646) 898-2055
                   14
                        CLEARY GOTTLIEB STEEN & HAMILTON LLP
                        ANGELA L. DUNNING (212047)
                   15
                        (adunning@cgsh.com)
                        1841 Page Mill Road, Suite 250
                   16
                        Palo Alto, CA 94304
                        Telephone: (650) 815-4131
                   17
                        Counsel for Defendant Meta Platforms, Inc.
                   18

                   19                              UNITED STATES DISTRICT COURT
                   20                           NORTHERN DISTRICT OF CALIFORNIA
                   21
                        RICHARD KADREY, et al.,                         Case No. 3:23-cv-03417-VC
                   22
                           Individual and Representative Plaintiffs,    DEFENDANT META PLATFORMS, INC.’S
                   23                                                   RESPONSES AND OBJECTIONS TO
                               v.                                       PLAINTIFFS’ SECOND SET OF
                   24                                                   INTERROGATORIES
                        META PLATFORMS, INC., a Delaware
                   25   corporation;

                   26                                   Defendant.      Trial Date:
                                                                        Date Action Filed: July 7, 2023
                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                              META’S RESP & OBJ’S TO
                                                                                           PLTFS’ SECOND SET OF ROGS
                                                                                                    3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC         Document 357-3          Filed 12/20/24      Page 3 of 11



                    1   PROPOUNDING PARTY:           PLAINTIFFS RICHARD KADREY, SARAH SILVERMAN, CHRISTOPHER
                                                     GOLDEN, TA-NEHISI COATES, JUNOT DÍAZ, ANDREW SEAN GREER,
                    2                                DAVID HENRY HWANG, MATTHEW KLAM, LAURA LIPPMAN,
                    3                                RACHEL LOUISE SNYDER, JACQUELINE WOODSON, AND LYSA
                                                     TERKEURST
                    4
                        RESPONDING PARTY:            DEFENDANT META PLATFORMS, INC.
                    5
                        SET NUMBER: ONE              SECOND
                    6

                    7          Pursuant to Federal Rule of Civil Procedure 33 and Local Rule 33, Defendant Meta

                    8   Platforms, Inc. (“Meta”) responds as follows to Plaintiffs Richard Kadrey, Sarah Silverman,

                    9   Christopher Golden, Ta-Nehisi Coates, Junot Díaz, Andrew Sean Greer, David Henry Hwang,

                   10   Matthew Klam, Laura Lippman, Rachel Louise Snyder, Jacqueline Woodson, and Lysa

                   11   TerKeurst’s (“Plaintiffs”) Second Set of Interrogatories (“Interrogatories”).

                   12   I.     RESPONSES TO ALL INTERROGATORIES

                   13          1.      Meta’s responses to these Interrogatories are made to the best of Meta’s current

                   14   employees’ present knowledge, information, and belief. Said responses are at all times subject to

                   15   such additional or different information that discovery or further investigation may disclose and,

                   16   while based on the present state of Meta’s recollection, is subject to such refreshing of recollection,

                   17   and such additional knowledge of facts, as may result from Meta’s further discovery or

                   18   investigation. Meta reserves the right to make any use of, or to introduce at any hearing and at trial,

                   19   information and/or documents responsive to these Interrogatories but discovered subsequent to the

                   20   date of these responses, including, but not limited to, any such information or documents obtained

                   21   in discovery herein.

                   22          2.      To the extent that Meta responds to an Interrogatory by stating that Meta will

                   23   provide information or documents that Meta deems to embody material that is private, business

                   24   confidential, proprietary, trade secret, or otherwise protected from disclosure pursuant to Federal

                   25   Rule of Civil Procedure 26(c) and/or Federal Rule of Evidence 501, Meta will only do so subject

                   26   to the parties’ stipulated protective order governing the unauthorized use or disclosure of such

                   27   information or documents with a designated “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                       META’S RESP & OBJ’S TO
                                                                          1                         PLTFS’ SECOND SET OF ROGS
                                                                                                             3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC         Document 357-3          Filed 12/20/24     Page 4 of 11



                    1   - ATTORNEYS’ EYES ONLY” or “HIGHLY CONFIDENTIAL – SOURCE CODE” distinction

                    2   (ECF No. 90, the “Protective Order”).

                    3          3.      Meta reserves all objections or other questions as to the competency, relevance,

                    4   materiality, privilege or admissibility as evidence in any subsequent proceeding in or trial of this

                    5   or any other action for any purpose whatsoever of Meta’s responses herein and any document or

                    6   thing identified or provided in response to the Interrogatories.

                    7   II.    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS
                    8          Whether or not separately set forth in response to each Interrogatory, Meta makes these

                    9   objections to the following Instructions and Definitions:

                   10          1.      Meta objects to all defined terms to the extent that they are not utilized in Plaintiffs

                   11   Second Set of Interrogatories.

                   12          2.      Meta objects to the definition of “Agreements” as overbroad and unduly

                   13   burdensome to the extent that it encompasses oral contracts, arrangements, or understandings,

                   14   including those that are informal. Meta further objects to the definition of “Agreements” as vague,

                   15   ambiguous, and unintelligible as to the term “modifications” to the extent it is intended to mean

                   16   something distinct from “versions” or “amendments.” Meta will construe “Agreements” to mean

                   17   written contracts, including drafts, versions, amendments, exhibits, and appendices thereof.

                   18          3.      Meta objects to the definition of “Communications” to the extent it is inconsistent

                   19   with and otherwise seeks to circumvent the custodian and search term limits for electronic

                   20   communications (including emails and other electronic correspondence, and documents attached

                   21   thereto), as provided in the Stipulated Protocol regarding Electronic Discovery (“ESI

                   22   Order”). Meta will produce Documents, including Communications, pursuant to the terms of the

                   23   ESI Order, and any agreement to produce such Documents is explicitly in view of the terms of the

                   24   ESI Order. To the extent that Meta responds to a Request, including by agreeing to search for

                   25   relevant, non-privileged communications in Meta’s possession, custody, or control, such response

                   26   is not a representation that any particular custodian or search term is appropriate. Meta expressly

                   27   reserves the right to object to any custodians and search terms proposed by Plaintiffs.

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                      META’S RESP & OBJ’S TO
                                                                          2                        PLTFS’ SECOND SET OF ROGS
                                                                                                            3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC          Document 357-3         Filed 12/20/24      Page 5 of 11



                    1          4.      Meta objects to the definition of “Complaint” which refers to an outdated complaint

                    2   that has since been replaced by the Corrected Second Consolidated Amended Complaint (ECF No.

                    3   133). Meta will construe “Complaint” to refer to the Corrected Second Consolidated Amended

                    4   Complaint.

                    5          5.      Meta objects to the definitions of “Llama 1,” “Llama 2,” and “Llama 3” as vague

                    6   and ambiguous as to the undefined terms “precursor models” and “variant models.” Meta further

                    7   objects to these definitions as overbroad, unduly burdensome, and disproportionate to the needs of

                    8   the case to the extent that it purports to require Meta to produce documents or information

                    9   concerning large language models (“LLMs”) that were not publicly released and/or were not trained

                   10   on corpuses of text that include any of Plaintiffs’ allegedly copyrighted works. For the same reason,

                   11   Meta objects to these definitions to the extent that they purport to require Meta to produce

                   12   documents or information concerning LLMs that are not relevant to any party’s claims or

                   13   defenses. For purposes of these responses, Meta construes the term “Llama 1” to refer to the LLM

                   14   released by Meta as Llama on February 24, 2023, the term “Llama 2” to refer to the LLM released

                   15   by Meta under that name on July 18, 2023, and the term “Llama 3” to refer to the LLM released by

                   16   Meta under that name on April 18, 2024 and July 23, 2024.

                   17          6.      Meta objects to the definition of “Meta” as overbroad, unduly burdensome, and

                   18   disproportionate to the needs of the case to the extent that it purports to require Meta to produce

                   19   documents or information concerning any “owners” regardless of shareholder interest and

                   20   shareholders with an ownership of in Meta of greater than 5%. Meta will construe “Meta” or “You”

                   21   to mean Meta Platforms, Inc.

                   22          7.      Meta objects to the definition of “Meta Language Models” as vague and ambiguous

                   23   as to the undefined terms “precursor models” and “variant models.” Meta further objects to this

                   24   definition as overbroad, unduly burdensome, and disproportionate to the needs of the case to the

                   25   extent that it purports to require Meta to produce documents concerning LLMs that were not

                   26   publicly released and/or were not trained on corpuses of text that allegedly include any of Plaintiffs’

                   27   allegedly copyrighted works. For the same reason, Meta objects to this definition to the extent that

                   28   it purports to require Meta to produce documents that are not relevant to any party’s claims or
COOLEY LLP
ATTORNEYS AT LAW                                                                                       META’S RESP & OBJ’S TO
                                                                          3                         PLTFS’ SECOND SET OF ROGS
                                                                                                             3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC          Document 357-3         Filed 12/20/24     Page 6 of 11



                    1   defenses. Meta will construe “Meta Language Models” to mean the models within the Llama

                    2   family of LLMs that have been publicly released by Meta, namely, Llama 1, Llama 2, Code Llama,

                    3   and Llama 3 (as those terms are construed above).

                    4          8.      Meta objects to the definition of “Relevant Period” as vague, ambiguous, and

                    5   unintelligible, as it is defined circularly to mean “all times relevant to… the Complaint.” Meta will

                    6   construe the Relevant Period to mean January 1, 2022 to the present.

                    7          9.      Meta objects to the definition of “Training Data” as vague, ambiguous, and

                    8   unintelligible as to the term “other material,” which is indefinite and undefined. Meta further

                    9   objects to the definition of “Training Data” as vague and ambiguous as to the phrase “considered

                   10   for use,” which, read literally, would encompass any dataset considered by any Meta employee,

                   11   regardless of the seriousness of such consideration and whether or not that consideration was ever

                   12   acted upon. Meta further objects to this definition to the extent it purports to include datasets (or

                   13   “considered” datasets) that include content to which Plaintiffs have made no claim of ownership

                   14   and which are not the subject of any allegations of copyright infringement by Plaintiffs. Meta will

                   15   construe “Training Data” to mean the “Books3” textual dataset used to train the Meta Language

                   16   Models (as construed above).

                   17          10.     Meta objects to the definition of “You” and “Your” as overbroad, unduly

                   18   burdensome, and nonsensical, insofar as it refers to “the specific Defendant(s) producing

                   19   documents in response to these Requests.” There is only one defendant in this case, Meta, and this

                   20   response is to the Interrogatories, not any document requests. Meta further objects to this definition

                   21   to the extent it seeks to impose upon Meta an obligation to investigate information or documents

                   22   outside of its possession, custody, or control. For purposes of these responses, Meta construes the

                   23   terms “You” and “Your” coextensively with Meta (as construed above).

                   24          11.     Meta objects to Instruction 1 to the extent that it purports to require more of Meta

                   25   than any obligation imposed by law, and would subject Meta to unreasonable and undue burden

                   26   and expense. Meta will supplement or amend its responses to these Interrogatories in accordance

                   27   with Meta’s obligations under Rule 26(e).

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                      META’S RESP & OBJ’S TO
                                                                          4                        PLTFS’ SECOND SET OF ROGS
                                                                                                            3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC         Document 357-3          Filed 12/20/24    Page 7 of 11



                    1          12.     Meta objects to Instruction 2, which defines the “Relevant Period” as January 1,

                    2   2000 to the present. Such definition is overbroad, unduly burdensome, and disproportionate to the

                    3   needs of the case because it both precedes the existence of Facebook (and therefore Meta) by

                    4   several years, and the development of the Meta Language Models by decades. For the same reason,

                    5   the definition of “Relevant Period,” as applied to the Interrogatories, would encompass information

                    6   that is irrelevant to the parties’ claims and defenses. The Instruction is also inconsistent with the

                    7   definition of “Relevant Period” provided on page 3 of the Interrogatories and is therefore vague

                    8   and ambiguous. Meta will construe the Relevant Period to mean January 1, 2022 to the present.

                    9          13.     Meta objects to Instruction 4 (referring to Fed. R. Civ. P. Rule 33(d)) on the ground

                   10   that it purports to require more of Meta than any obligation imposed by law, and would subject

                   11   Meta to unreasonable and undue burden and expense.

                   12          14.     Meta objects to Instruction 6 (outlining additional obligations for allegedly

                   13   incomplete responses) to the extent that it purports to require Meta to investigate information

                   14   outside of its possession, custody, or control.

                   15          15.     Meta objects to Instruction 8 (outlining additional obligations for any privilege

                   16   objection) on the ground that it purports to require more of Meta than any obligation imposed by

                   17   law, and would subject Meta to unreasonable and undue burden and expense.

                   18          16.     Meta objects to Instruction 9 (outlining additional obligations for any work product

                   19   objection) on the ground that it purports to require more of Meta than any obligation imposed by

                   20   law, and would itself require disclosure of information protected by attorney-client privilege and/or

                   21   attorney work product doctrine.

                   22          17.     Meta objects to Instruction 10 (building in a separate question for each

                   23   Interrogatory) on the ground that it purports to require more of Meta than any obligation imposed

                   24   by law, seeks disclosure of information protected by attorney-client privilege and/or attorney work

                   25   product doctrine, and seeks to circumvent Plaintiffs’ interrogatory limit.

                   26          18.     Meta objects to Instruction 11 (purporting to require responses for “all predecessors,

                   27   successors, subsidiaries … divisions and/or affiliates of Meta”), on the ground that it purports to

                   28   require more of Meta than any obligation imposed by law, and would subject Meta to unreasonable
COOLEY LLP
ATTORNEYS AT LAW                                                                                        META’S RESP & OBJ’S TO
                                                                          5                          PLTFS’ SECOND SET OF ROGS
                                                                                                              3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC          Document 357-3          Filed 12/20/24     Page 8 of 11



                    1   and undue burden and expense. Meta further objects to Instruction 11 to the extent that it purports

                    2   to require Meta to investigate information outside of its possession, custody, or control. As such

                    3   the Instruction if overly broad, as well. Subject to any objections applicable to a particular

                    4   Interrogatory, Meta will conduct a reasonable, proportionate search for non-privileged, relevant,

                    5   responsive information within its possession, custody, or control.

                    6          19.       In responding to all Interrogatories, Meta will comply with the requirements of the

                    7   Federal Rules of Evidence and Federal Rule of Civil Procedure 26.

                    8   III.   OBJECTIONS AND RESPONSES TO INDIVIDUAL INTERROGATORIES

                    9   INTERROGATORY NO. 1:

                   10          State all facts on which you base Your contention that Your conduct constitutes fair use (17

                   11   U.S.C. § 107).

                   12   RESPONSE TO INTERROGATORY NO. 1:

                   13          Meta incorporates by reference its objections and definitions above.

                   14          Meta objects to this Interrogatory as vague and ambiguous as to the phrase “Your conduct,”

                   15   which is undefined and could refer to any conduct. Meta will construe this Interrogatory to seek

                   16   information concerning Meta’s claim of fair use in connection with the conduct alleged in the

                   17   Complaint (as construed above).

                   18          Meta objects to this Interrogatory as overbroad, unduly burdensome, and disproportionate

                   19   to the needs of the case to the extent it seeks information that Meta does not intend to rely on to

                   20   support a claim of fair use and calls for a lengthy narrative with regard to twelve different plaintiffs

                   21   and more than forty works.

                   22          Meta objects to this Interrogatory to the extent it prematurely calls for expert testimony or

                   23   identification of facts yet to be disclosed by Plaintiffs, and to the extent that it requires Meta to

                   24   respond to legal arguments or theories not yet disclosed by Plaintiffs.

                   25          Finally, Meta objects to this Interrogatory because it exceeds Plaintiffs’ limit of 25

                   26   Interrogatories under Rule 33(a)(1).

                   27          Subject to and without waiving the foregoing objections, and pursuant to the terms of the

                   28   Protective Order, Meta responds as follows:
COOLEY LLP
ATTORNEYS AT LAW                                                                                       META’S RESP & OBJ’S TO
                                                                           6                        PLTFS’ SECOND SET OF ROGS
                                                                                                             3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC       Document 357-3        Filed 12/20/24   Page 9 of 11



                    1   Dated: September 30, 2024                           COOLEY LLP

                    2
                                                                      By: /s/ Judd Lauter
                    3                                                    Bobby Ghajar
                                                                         Mark Weinstein
                    4                                                    Kathleen Hartnett
                                                                         Judd Lauter
                    5                                                    Liz Stameshkin
                                                                         Colette Ghazarian
                    6
                                                                            LEX LUMINA PLLC
                    7                                                       Mark A. Lemley

                    8                                                       CLEARY GOTTLIEB STEEN &
                                                                            HAMILTON LLP
                    9                                                       Angela L. Dunning
                                                                            Attorneys for Defendant
                   10                                                       META PLATFORMS, INC.
                   11

                   12

                   13

                   14

                   15

                   16

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                               META’S RESP & OBJ’S TO
                                                                     14                     PLTFS’ SECOND SET OF ROGS
                                                                                                     3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC          Document 357-3        Filed 12/20/24    Page 10 of 11



                    1                                           PROOF OF SERVICE

                    2           I am a citizen of the United States and a resident of the State of California. I am employed

                    3    in Los Angeles County, State of California, in the office of a member of the bar of this Court, at

                    4    whose direction the service was made. I am over the age of eighteen years, and not a party to the

                    5    within action. My business address is Cooley LLP, 355 South Grand Avenue, Suite 900, Los

                    6    Angeles, CA 90071. On the date set forth below I served the documents described below in the

                    7    manner described below:

                    8                  DEFENDANT META PLATFORMS, INC.’S RESPONSES AND OBJECTIONS TO
                                        PLAINTIFFS’ SECOND SET OF INTERROGATORIES
                    9

                   10          (BY  ELECTRONIC MAIL) I am personally and readily familiar with the business
                                 practice of Cooley LLP for the preparation and processing of documents in
                                        portable document format (PDF) for e-mailing, and I caused said documents to be
                   11                   prepared in PDF and then served by electronic mail to the parties listed below.

                   12    on the following part(ies) in this action:

                   13
                                Executed on September 30, 2024, at Los Angeles, California.
                   14

                   15

                   16                                                                   Jerry Gonzalez

                   17

                   18

                   19

                   20

                   21

                   22

                   23

                   24

                   25

                   26

                   27

                   28
COOLEY LLP                                                                                                PROOF OF SERVICE
ATTORNEYS AT LAW
                                                                         1                                3:23-CV-03417-VC
                        Case 3:23-cv-03417-VC        Document 357-3          Filed 12/20/24    Page 11 of 11



                    1                                             SERVICE LIST
                         Joseph R. Saveri                                Joshua I. Schiller, Esq.
                    2                                                    Maxwell Vaughn Prtt, Esq.
                         Cadio Zirpoli
                    3    Christopher K.L. Young                          BOIES SCHILLE FLEXNER
                         Holden Benon                                    44 Montgomery Street, 41st Floor
                    4    Louis Andrew Kessler                            San Francisco, CA 94104
                         Aaron Cera                                      Email: jischiller@bsfllp.com
                    5
                         Margaux Poueymirou                                     mpritt@bsfllp.com
                    6    JOSEPH SAVERI LAW FIRM, LLP
                         601 California Street, Suite 1000                   David Boise, Esq. (admitted pro hac vice)
                    7    San Francisco, CA 94108                             BOIES SCHILLER FLEXNER
                         Email: jsaveri@saverilawfirm.com                    333 Main Street
                    8           czirpoli@saverilawfirm.com                   Armonk, NY 10504
                                cyoung@saverilawfirm.com
                    9                                                        Email: dboies@bsfllp.com
                                hbenon@saverilawfirm.com
                   10           lkessler@saverilawfirm.com                   Jesse Panuccio (admitted pro hac vice)
                                acera@saverilawfirm.com
                                mpoueymirou@saverilawfirm.com                BOIES SCHILLER FLEXNER
                   11
                                                                             1401 New York Ave. NW
                   12    Matthew Butterick                                   Washington, DC 20005
                         MATTHEW BUTTERICK,                                  Email: jpanuccio@bsfllp.com
                   13    ATTORNEY AT LAW
                         1920 Hillhurst Avenue, #406                         Attorneys for Individual and Representative
                   14                                                        Plaintiffs and the Proposed Class
                         Los Angeles, CA 90027
                   15    Email: mb@buttericklaw.com
                                                                             Brian O’Mara
                         Attorneys for Individual and Representative         DiCELLO LEVITT LLP
                   16
                         Plaintiffs and the Proposed Class                   4747 Executive Drive, Suite 240
                   17                                                        San Diego, CA 92121
                         Bryan L. Clobes (admitted pro hac vice)             Email: BrianO@dicellolevitt.com
                   18    Alexander J. Sweatman (admitted pro hac vice)
                         Mohammed Rathur                                     Amy Keller (admitted pro hac vice)
                   19    CAFFERTY CLOBES MERIWETHER                          James A. Ulwick (admitted pro hac vice)
                         & SPRENGEL LLP                                      Nada Djordjevic (admitted pro hac vice)
                   20                                                        DiCELLO LEVITT LLP
                         135 South LaSalle Street, Suite 3210
                   21    Chicago, IL 60603                                   10 North Dearborn St., Sixth Floor
                         Email: bclobes@caffertyclobes.com                   Chicago, IL 60602
                   22           asweatman@caffertyclobes.com                 Email: akeller@dicellolevitt.com
                                mrathur@caffertyclobes.com                          julwick@dicellolevitt.com
                   23                                                               ndjordjevic@dicellolevitt.com
                         Attorneys for Individual and Representative
                   24    Plaintiffs and the Proposed Class                   David A. Straite (admitted pro hac vice)
                                                                             DiCELLO LEVITT LLP
                   25
                                                                             485 Lexington Avenue, Suite 1001
                   26                                                        New York, NY 10017
                                                                             Email: dstraite@dicellolevitt.com
                   27
                                                                             Attorneys for Plaintiff Lysa TerKeurst
                   28
COOLEY LLP
ATTORNEYS AT LAW                                                                                     META’S RESP & OBJ’S TO
                                                                         2                        PLTFS’ SECOND SET OF ROGS
                                                                                                           3:23-CV-03417-VC
